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 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 2:13-CR-00330-KJM-3
12                     Plaintiff,
13          v.                                       ORDER
14   JOHN JAMES KASH,
15                     Defendant.
16

17

18                 On October 14, 2015, the United States filed a Motion in Limine for Admission of

19   Business Records under Rule 902(11). ECF No. 239. On October 21, 2015, Defendant John

20   James Kash raised objections to admission of documents Bates Numbered 807-832, 1007, 1008-

21   1010, 2408-2416, 2436, 2827, 7939-7958, 7959-7963, 7967, 7971, 7975, 7978, 7981, 7986, 8006,

22   8009, 8036, 10019-10023, and 10024. ECF No. 247. In response, the United States withdrew its

23   motion for a pretrial ruling as to the documents objected to by defendant, except for documents

24   Bates Numbered 7939-7958. ECF No. 254. The court held a hearing on the matter on October

25   28, 2015, at which defendant John James Kash appeared pro se with standby defense counsel

26   Gregory Foster; Christiaan Highsmith and Justin Lee appeared for the United States.

27                 At the hearing, the court ruled that the unopposed documents are self-

28   authenticating under Federal Rule of Evidence 902(11) and are admissible under the Rule 803(6)
                                                     1
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 1   exception to the hearsay rule. The court also granted the United States’ motion as to the
 2   contested surveillance video and photographs from Century Heritage, Bates Numbered 7939-
 3   7958, because the court determined that they were made in the normal course of business under
 4   Rule 803(6). The United States will redact any handwritten notes that appear to have been
 5   entered after the creation of the records subject to this motion. Defendant is not precluded from
 6   challenging the admissibility of the records subject to this motion on other grounds, such as
 7   relevance or under Federal Rule of Evidence 403.
 8                  The United States’ motion has been decided based upon the record presently
 9   before the court. The ruling is made without prejudice and is subject to proper renewal, in whole
10   or in part, during trial. If a party wishes to contest a pretrial ruling, it must do so through a proper
11   motion or objection, or otherwise forfeit appeal on such grounds. See Fed. R. Evid. 103(a);
12   Tennison v. Circus Circus Enters., Inc., 244 F.3d 684, 689 (9th Cir. 2001) (“Where a district
13   court makes a tentative in limine ruling excluding evidence, the exclusion of that evidence may
14   only be challenged on appeal if the aggrieved party attempts to offer such evidence at trial.”
15   (alteration, citation and quotation omitted)).
16                  In sum, the court granted the United States’ motion for admission of the following
17   business records:
18               BATES            DESCRIPTION                             RECORDS
                 RANGE                                                    OBTAINED FROM
19
                 598-708          Utility account setup information,      PG&E
20               2059-2073        billing information, and records
                 709-770          Online financial banking and            Scottrade
21               2141-2225        trading account information
                 771-801          Various FedEx shipment                  Federal Express
22
                 802-806          documentation and shipment
23               2136-2140        receipts
                 2226-2375
24               833-1006         Property ownership and title records Fidelity National
                                                                       Title
25                                                                     Golden 1 Credit
                 3068-3195        Banking records and banking
26                                transaction activity                 Union
                 1073-2058        Banking records and banking          Bank of America
27               3196-3616        transaction activity
                 10059-11434
28
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 1           2074-2129     Banking records and banking           Citizens Bank
                           transaction activity
 2
             2130-2135     Banking records and banking           Huntington National
 3                         transaction activity                  Bank
             2376-2407     Money orders, receipts, and related   Western Union
 4                         records
             2435-2435     Banking records and banking           Fifth Third Bank
 5
             2437-2439     transaction activity
 6           2440-2520     Banking records and banking           JPMorgan Chase
             2724-2826     transaction activity
 7           2521-2531     Travel records                        United Airlines
             2532-2534     Travel records                        Delta Airline
 8           2535-2644     Banking records and banking           Comerica Bank
 9                         transaction activity
             2645-2708     Banking records and banking           GE Capital Retail
10                         transaction activity                  Finance Bank
             2709-2723     Online banking records and            Net Spend
11                         account activity
12           2952-2975     Shipping supplies account             Uline Shipping
                           information and invoices              Supply
13           3617-7937     Cellular telephone records            Sprint
                                                                 Telecommunications
14           7938-7958     Surveillance camera photographs,      Century Heritage
             7964-8008     transaction reports, receipts
15
             8035, 8037-   Deposit records, funds transfer       Parkview
16           8074          records, surveillance photographs     Community Federal
                                                                 Credit Union
17           8075-8095     Funds transfer receipts               Pittsburgh Central
                                                                 Federal Credit
18                                                               Union
19           8096-8175     Online banking, trading, and          E*Trade
                           financial services account
20                         information
             8176-8185     Shipping receipts                     YRC Freight
21           8909-8919
             8186-8561     Travel records                        Southwest Airlines
22           8563-8616     Retail credit card account and        GE Capital Retail
23                         transaction activity                  Finance Bank
             8616-8758     Real estate records and ownership     Placer Title
24                         documents                             Company
             9991-10018    Money order receipts and copies of    Money Gram
25                         money orders
26              IT IS SO ORDERED.
27   DATED: October 29, 2015.
28
                                                3    UNITED STATES DISTRICT JUDGE
